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Waiver of Service of Summons _ f I LE ry
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AS OFFi¢r

To: Levy Puiturs & Konicsperc, LLP

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I acknowledge receipt of your request that | waive service of a summons in the actio

County of Orange v, Abbott Laboratories. Inc., etal. u. 3. BIST sTa! OF COunr
which is case number 07-CV-2777 | in the United States District Court for the. “Southern

District of New York _. I have also received a copy of the complaint in the action, two copies of
this instrument, and a means by which I can return the signed waiver to you without cest to me.

J agree to save the cost of service of a summons and an additional copy of the complaint in
this lawsuit by not requiring that I (or the entity on whose behalfI am action) be served with judicial
process in the manner provided by Rule 4. .

I (or the entity on whose behalf I am acting) will retain all defenses or objections to the
lawsuit or to the jurisdiction or venue of the court except for objections based on a defect in the
summons or in thé service of the summons.

understand that a judgment may be entered against me (or the party on whose behalf 1 am
acting) if an answer or motion under Rule 12 is not served upon you within 60 days after (date
request was sent), or within 90 days after that date if the request was sent outside the United States.

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Date 7 Signature

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Duty to Avoid Unnecessary Costs of Service of Summons

Riile 4 of the Federal Rules of Civil Procedure Teguires certain parties to cooperate in saving.unnecessary costs of service of the summons and
complaint. .A-defendant who, after being notified of an action and asked te waive service ofa summons, fails to do so will be required to-bear the
cost of suth service. unless good cause be shown for.its failure to sien and return the waiver.

It is not good cause for-a failure io waive service that a party believes that thie complaint is unfounded, or that the action has been brought in an
inmproper place or in a court that lacks jurisdiction over the subject matier of the action or even its its person or property. A party who.waives service
of the summons retains. all defenses and objections (except any relating to the summons of to the service of the summons), and may later object to
the jurisdiction of the court or to th .¢ place where the action has been browght. °

A defendant who waives service must (within the time specified on the » waiver. form serve on the plaintiff's attomey (or unrepresented plaintiff} a
response to the complaint and-must also file a signed copy of the response with the court. If the answer or motion is not served within this time, a
default judement may-be taken apairist the defendant, by. waiving service, 4 defendant is allowed more time t6 answer than ifthe summons has been
actually served when the réquest for waiver of service was-received.

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